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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


    SALERNO MEDICAL ASSOCIATES, LLP.,

                   Plaintiff,
                                                                         Civil Action No. 20-7076
         v.

    INTEGRITY PRACTICE SOLUTIONS, LLC, et                                       ORDER
    al.,
                   Defendants.


John Michael Vazquez, U.S.D.J.

        Currently pending before the Court is Plaintiff’s amended motion for a preliminary

injunction. D.E. 19. In addition to the motion, the Court reviewed the amended Verified

Complaint, D.E. 18, and the declarations attached thereto. The Court also held telephone

conferences with counsel on June 19, 2020 and June 25, 2020. For the reasons stated on the record,

and for good cause shown,

        IT IS on this 29th day of June, 2020,

        ORDERED that the following schedule applies to Plaintiff’s motion for a preliminary

injunction:

              1. Defendants shall submit their opposition by July 7, 2020; and

              2. Plaintiff shall submit its reply by July 9, 2020; and

              3. The Court will hold a hearing on July 10, 2020 at 2:00 p.m.1



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                                                        John
                                                        Johhn Michael Vazquez, U.
                                                                               U.S.D.J.
                                                                                .S.D.JJ.

1
 Any party intending to call a witness to testify at the hearing shall notify the Court at least twenty-
four (24) hours in advance. The hearing will be by way of video conference.
